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                                                                        REMARKS

                                       REMARKS BY PRESIDENT TRUMP IN JOINT ADDRESS TO CONGRESS


                                                                   The White House


                                                                     March 6, 2025




                                                                     U.S. Capitol
                                                                 Washington, D.C.
                                                                    9:19 P.M. EST
                (March 4, 2025)
                   THE PRESIDENT: Thank you. (Applause.) Thank you very much. Thank you very much.
                It’s a great honor. Thank you very much.
                Speaker Johnson, Vice President Vance, the first lady of the United States — (applause) —
                members of the United States Congress, thank you very much.
                And to my fellow citizens, America is back. (Applause.)
                AUDIENCE: USA! USA! USA!
                THE PRESIDENT: Six weeks ago, I stood beneath the dome of this Capitol and proclaimed
                the dawn of the golden age of America. From that moment on, it has been nothing but swift
                and unrelenting action to usher in the greatest and most successful era in the history of
                our country.
                We have accomplished more in 43 days than most administrations accomplished in four
                years or eight years, and we are just getting started. (Applause.) Thank you.
                I return to this chamber tonight to report that America’s momentum is back, our spirit is back,
                our pride is back, our confidence is back, and the American dream is surging bigger and
                better than ever before. (Applause.) The American dream is unstoppable, and our country is
                on the verge of a comeback, the likes of which the world has never witnessed and perhaps
                will never witness again. There’s never been anything like it. (Applause.)
                The presidential election of November 5th was a mandate like has not been seen in many
                decades. We won all seven swing states, giving us an electoral college victory of 312 votes.
                (Applause.) We won the popular vote —
                REPRESENTATIVE GREEN: (Inaudible.)
                THE PRESIDENT: — by big numbers and won counties in our country —
                AUDIENCE: Booo —
                AUDIENCE: USA! USA! USA!
                REPRESENTATIVE GREEN: You are — you have no right to cut Medicaid.
                AUDIENCE: USA! USA! USA!
                THE PRESIDENT: — and won counties in our country 2,700 to 525 on a map that reads almost
                completely red for Republican. (Applause.)
                Now, for the first time in modern history, more Americans believe that our country is headed
                in the right direction than the wrong direction. In fact, it’s an astonishing record: 27-point
                swing, the most ever. (Applause.)

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                Likewise, small-business optimism saw its single largest one-month gain ever recorded.
                SPEAKER JOHNSON: Mr. President —
                THE PRESIDENT: A 41-point jump.
                (Speaker Johnson strikes the gavel.)


                   SPEAKER JOHNSON: Members are directed to uphold and maintain decorum in the House
                and to cease any further disruptions. That’s your warning.
                REPRESENTATIVE GREEN: He has no mandate to cut Medicaid.
                SPEAKER JOHNSON: Members are engaging in willful and continuing breach of decorum,
                and the chair is prepared to direct the sergeant at arms to restore order to the joint
                session. (Applause.)
                Mr. Green, take your seat. Take your seat, sir.
                REPRESENTATIVE GREEN: He has no mandate to cut Medicaid.
                SPEAKER JOHNSON: Take your seat.
                (Cross-talk.)
                Finding that members continue to engage in willful and concerted disruption of proper
                decorum, the chair now directs the sergeant at arms to restore order. (Applause.) Remove
                this gentleman from the chamber. (Applause.)
                REPRESENTATIVE GREEN: Shame on all of you.


                   (Members of the audience sing “Na Na Hey Hey Kiss Him Goodbye.”)


                   (Cross-talk.)


                   You have no mandate.
                SPEAKER JOHNSON: Members are directed to uphold and maintain decorum in the House.
                Mr. President, you can continue.
                THE PRESIDENT: Thank you.
                Over the past six weeks, I have signed nearly 100 executive orders and taken more than 400
                executive actions — a record — to restore common sense, safety, optimism, and wealth all
                across our wonderful land. The people elected me to do the job, and I’m doing it. (Applause.)
                In fact, it has been stated by many that the first month of our presidency — it’s our presidency
                — (applause) — is the most successful in the history of our nation by many. (Applause.) And
                what makes it even more impressive is that — do you know who number two is? George
                Washington. How about that? (Laughter and applause.) How about that? I don’t know about
                that list, but we’ll take it.
                Within hours of taking the oath of office, I declared a national emergency on our southern
                border — (applause) — and I deployed the U.S. military and Border Patrol to repel the invasion
                of our country. And what a job they’ve done.
                As a result, illegal border crossings last month were, by far, the lowest ever recorded. Ever.
                (Applause.) They heard my words, and they chose not to come. Much easier that way.
                In comparison, under Joe Biden, the worst president in American history — (applause) —
                there were hundreds of thousands of illegal crossings a month, and virtually all of them,
                including murderers, drug dealers, gang members, and people from mental institutions and
                insane asylums, were released into our country. Who would want to do that?

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                This is my fifth such speech to Congress, and, once again, I look at the Democrats in front of
                me, and I realize there is absolutely nothing I can say to make them happy or to make them
                stand or smile or applaud. Nothing I can do. I could find a cure to the most devastating
                disease — a disease that would wipe out entire nations, or announce the answers to the
                greatest economy in history or the stoppage of crime to the lowest levels ever recorded, and
                these people sitting right here will not clap, will not stand, and certainly will not cheer for
                these astronomical achievements. They won’t do it no matter what.
                Five times I’ve been up here. It’s very sad, and it just shouldn’t be this way. (Applause.)
                So, Democrats sitting before me, for just this one night, why not join us in celebrating so many
                incredible wins for America? For the good of our nation, let’s work together and let’s truly
                make America great again. (Applause.)
                Every day, my administration is fighting to deliver the change America needs, to bring
                a future that America deserves, and we’re doing it. This is a time for big dreams and
                bold action.
                Upon taking office, I imposed an immediate freeze on all federal hiring, a freeze on all new
                federal regulations, and a freeze on all foreign aid. (Applause.) I terminated the ridiculous
                Green New Scam. I withdrew from the unfair Paris Climate Accord, which was costing us
                trillions of dollars that other countries were not paying. (Applause.) I withdrew from the
                corrupt World Health Organization. (Applause.) And I also withdrew from the anti-American
                U.N. Human Rights Council. (Applause.)
                We ended all of Biden’s environmental restrictions that were making our country far
                less safe and totally unaffordable. And importantly, we ended the last administration’s
                insane electric vehicle mandate, saving our autoworkers and companies from economic
                destruction. (Applause.)
                To unshackle our economy, I have directed that for every 1 new regulation, 10 old regulations
                must be eliminated, just like I did in my very successful first term. (Applause.) And in that
                first term, we set records on ending unnecessary rules and regulations like no other president
                had done before.
                We ordered all federal workers to return to the office. They will either show up for work in
                person or be removed from their job. (Applause.)
                And we have ended weaponized government, where, as an example, a sitting president is
                allowed to viciously prosecute his political opponent, like me. How did that work out?
                (Laughter.) Not too good. (Applause.) Not too good.
                And I have stopped all government censorship and brought back free speech in America. It’s
                back. (Applause.)
                And two days ago, I signed an order making English the official language of the United States
                of America. (Applause.)
                I renamed the Gulf of Mexico the Gulf of America. (Applause.)
                And, likewise, I renamed — for a great president, William McKinley — Mount McKinley again.
                (Applause.) Beautiful Alaska. We love Alaska.
                We’ve ended the tyranny of so-called diversity, equity, and inclusion policies all across the
                entire federal government and, indeed, the private sector and our military. (Applause.) And
                our country will be woke no longer. (Applause.)
                We believe that whether you are a doctor, an accountant, a lawyer, or an air traffic controller,
                you should be hired and promoted based on skill and competence, not race or gender. Very

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                important. (Applause.) You should be hired based on merit. And the Supreme Court, in a
                brave and very powerful decision, has allowed us to do so.
                Thank you. Thank you very much. Thank you. (Applause.)
                We have removed the poison of critical race theory from our public schools. And I signed an
                order making it the official policy of the United States government that there are only two
                genders: male and female. (Applause.)
                I also signed an executive order to ban men from playing in women’s sports. (Applause.)


                   Three years ago, Payton McNabb was an all-star high school athlete — one of the best —
                preparing for a future in college sports. But when her girls’ volleyball match was invaded by a
                male, he smashed the ball so hard in Payton’s face, causing traumatic brain injury, partially
                paralyzing her right side, and ending her athletic career. It was a shot like she’s never seen
                before. She’s never seen anything like it.
                Payton is here tonight in the gallery. And, Payton, from now on, schools will kick the men off
                the girls’ team or they will lose all federal funding. (Applause.)
                And if you really want to see numbers, just take a look at what happened in the woman’s
                boxing, weightlifting, track and field, swimming, or cycling, where a male recently finished a
                long-distance race five hours and 14 minutes ahead of a woman for a new record by five
                hours. Broke the record by five hours.
                It’s demeaning for women, and it’s very bad for our country. We’re not going to put up with it
                any longer. (Applause.)
                What I have just described is only a small fraction of the commonsense revolution that is now,
                because of us, sweeping the entire world. Common sense has become a common theme,
                and we will never go back. Never. Never going to let that happen. (Applause.)
                Among my very highest priorities is to rescue our economy and get dramatic and immediate
                relief to working families. As you know, we inherited from the last administration an
                economic catastrophe and an inflation nightmare. Their policies drove up energy prices,
                pushed up grocery costs, and drove the necessities of life out of reach for millions and
                millions of Americans. They’ve never had anything like it.
                We suffered the worst inflation in 48 years but perhaps even in the history of our country.
                They’re not sure. As president, I’m fighting every day to reverse this damage and make
                America affordable again. (Applause.)
                Joe Biden especially let the price of eggs get out of control.
                AUDIENCE: Booo —
                THE PRESIDENT: The egg price is out of control, and we’re working hard to get it back down.
                Secretary, do a good job on that. You inherited a total mess from the previous administration.
                Do a good job. (Applause.)
                A major focus of our fight to defeat inflation is rapidly reducing the cost of energy. The
                previous administration cut the number of new oil and gas leases by 95 percent, slowed
                pipeline construction to a halt, and closed more than 100 power plants. We are opening up
                many of those power plants right now. (Applause.)
                And, frankly, we have never seen anything like it. That’s why, on my first day in office, I
                declared a national energy emergency. (Applause.) As you’ve heard me say many times, we
                have more liquid gold under our feet than any nation on Earth and by far. And now I’ve fully


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                authorized the most talented team ever assembled to go and get it. It’s called drill, baby,
                drill. (Applause.)
                My administration is also working on a gigantic natural gas pipeline in Alaska — among the
                largest in the world — where Japan, South Korea, and other nations want to be our partner
                with investments of trillions of dollars each. There’s never been anything like that one. It will
                be truly spectacular. It’s all set to go. The permitting is gotten.
                And later this week, I will also take historic action to dramatically expand production of critical
                minerals and rare earths here in the USA. (Applause.)
                To further combat inflation, we will not only be reducing the cost of energy, but we’ll be
                ending the flagrant waste of taxpayer dollars. (Applause.) And to that end, I have created the
                brand-new Department of Government Efficiency – DOGE. (Applause.) Perhaps you’ve heard
                of it — perhaps — which is headed by Elon Musk, who is in the gallery tonight. (Applause.)
                Thank you, Elon. He’s working very hard. He didn’t need this. (Laughs.) He didn’t need this.
                Thank you very much. We appreciate it. Everybody here, even this side, appreciates it, I
                believe. (Applause.) They just don’t want to admit that.
                Just listen to some of the appalling waste we have already identified.
                $22 billion from HHS to provide free housing and cars for illegal aliens.
                $45 million for diversity, equity, and inclusion scholarships in Burma.
                $40 million to improve the social and economic inclusion of sedentary migrants. Nobody
                knows what that is. (Laughter.)
                $8 million to promote LGBTQI+ in the African nation of Lesotho, which nobody has ever heard
                of. (Laughter.)
                $60 million for Indigenous peoples and Afro-Colombian empowerment in Central America.
                $60 million.
                $8 million for making mice transgender. (Laughter.) This is real.
                $32 million for a left-wing propaganda operation in Moldova.
                $10 million for male circumcision in Mozambique.
                $20 million for the Arab “Sesame Street” in the Middle East. It’s a program. $20 million for
                a program.
                $1.9 billion to recently created decarbonization of homes committee, headed up — and we
                know she’s involved — just at the last moment, the money was passed over — by a woman
                named Stacey Abrams. Have you ever heard of her?
                AUDIENCE: Booo —
                THE PRESIDENT: A $3.5 million consulting contract for lavish fish monitoring.
                $1.5 million for voter confidence in Liberia.
                $14 million for social cohesion in Mali.
                $59 million for illegal alien hotel rooms in New York City.
                AUDIENCE: Booo —
                THE PRESIDENT: He’s a real estate developer. He’s done very well.
                $250,000 to increase vegan local climate action innovation in Zambia.
                $42 million for social and behavior change in Uganda.
                $14 million for improving public procurement in Serbia.
                $47 million for improving learning outcomes in Asia. Asia is doing very well with learning.
                (Laughter.) Don’t know what we’re doing. We should use it ourselves.


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                And $101 million for DEI contracts at the Department of Education, the most ever paid.
                Nothing even like it.
                Under the Trump administration, all of these scams — and there are far worse, but I didn’t
                think it was appropriate to talk about them. They’re so bad. Many more have been found out
                and exposed and swiftly terminated by a group of very intelligent, mostly young people,
                headed up by Elon. And we appreciate it. We’ve found hundreds of billions of dollars of
                fraud. (Applause.)
                And we’ve taken back the money and reduced our debt to fight inflation and other things.
                Taken back a lot of that money. We got it just in time.
                AUDIENCE MEMBERS: (Inaudible.)
                THE PRESIDENT: This is just the beginning. The Government Accountability Office, a federal
                government office, has estimated annual fraud of over $500 billion in our nation, and we are
                working very hard to stop it. We’re going to.
                We’re also identifying shocking levels of incompetence and probable fraud in the Social
                Security program for our seniors and that our seniors and people that we love rely on. Believe
                it or not, government databases list 4.7 million Social Security members from people aged
                100 to 109 years old.
                THE PRESIDENT: It lists 3.6 million people from ages 110 to 119. I don’t know any of them. I
                know some people that are rather elderly, but not quite that elderly. (Laughter.)
                3.47 million people from ages 120 to 129.
                3.9 million people from ages 130 to 139.
                3.5 million people from ages 140 to 149.
                And money is being paid to many of them, and we’re searching right now.
                In fact, Pam, good luck. Good luck. You’re going to find it.
                But a lot of money is paid out to people because it just keeps getting paid and paid, and
                nobody does — and it really hurts Social Security and hurts our country.
                1.3 million people from ages 150 to 159. And over 130,000 people, according to the Social
                Security databases, are age over 160 years old.
                We have a healthier country than I thought, Bobby. (Laughter and applause.)
                Including, to finish, 1,039 people between the ages of 220 and 229; one person between the
                age of 240 and 249; and one person is listed at 360 years of age.
                AUDIENCE MEMBER: Joe Biden! (Laughter.)
                THE PRESIDENT: More than 100 years older than our country.
                But we’re going to find out where that money is going, and it’s not going to be pretty.
                By slashing all of the fraud, waste, and theft we can find, we will defeat inflation, bring down
                mortgage rates, lower car payments and grocery prices, protect our seniors, and put more
                money in the pockets of American families. (Applause.)
                And today, interest rates took a beautiful drop — big, beautiful drop. It’s about time.
                And in the near future, I want to do what has not been done in 24 years: balance the federal
                budget. We’re going to balance it. (Applause.)
                With that goal in mind, we have developed in great detail what we are calling the gold card,
                which goes on sale very, very soon.


                   For $5 million, we will allow the most successful, job-creating people from all over the world
                to buy a path to U.S. citizenship. It’s like the green card but better and more sophisticated.

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                (Laughter.) And these people will have to pay tax in our country. They won’t have to pay tax
                from where they came. The money that they’ve made, you wouldn’t want to do that, but they
                have to pay tax, create jobs.
                They’ll also be taking people out of colleges and paying for them so that we can keep them in
                our country, instead of having them being forced out. Number one at the top school, as an
                example, being forced out and not being allowed to stay and create tremendous numbers of
                jobs and great success for a company out there.
                So, while we take out the criminals, killers, traffickers, and child predators who were allowed
                to enter our country under the open border policy of these people — the Democrats, the
                Biden administration — the open border, insane policies that you’ve allowed to destroy our
                country — we will now bring in brilliant, hardworking, job-creating people. They’re going to
                pay a lot of money, and we’re going to reduce our debt with that money. (Applause.)
                Americans have given us a mandate for bold and profound change. For nearly 100 years, the
                federal bureaucracy has grown until it has crushed our freedoms, ballooned our deficits, and
                held back America’s potential in every possible way. The nation founded by pioneers and risk-
                takers now drowns under millions and millions of pages of regulations and debt.
                Approvals that should take 10 days to get instead take 10 years, 15 years, and even 20 years
                before you’re rejected. Meanwhile, we have hundreds of thousands of federal workers who
                have not been showing up to work.
                My administration will reclaim power from this unaccountable bureaucracy, and we will
                restore true democracy to America again. (Applause.) Any federal bureaucrat who resists this
                change will be removed from office immediately — (applause) — because we are draining the
                swamp. It’s very simple. And the days of rule by unelected bureaucrats are over. (Applause.)
                And the next phase of our plan to deliver the greatest economy in history is for this Congress
                to pass tax cuts for everybody. They’re in there. They’re waiting for you to vote. (Applause.)
                And I’m sure that the people on my right — I don’t mean the Republican right, but my right
                right here — I’m sure you’re going to vote for those tax cuts, because, otherwise, I don’t
                believe the people will ever vote you into office. So, I’m doing you a big favor by telling you
                that. (Applause.)
                But I know this group is going to be voting for the taxes. (Applause.)
                Thank you. It’s a very, very big part of our plan. We had tremendous success in our first term
                with it. A very big part of our plan. We’re seeking permanent income tax cuts all across
                the board.
                And to get urgently needed relief to Americans hit especially hard by inflation, I’m calling
                for no tax on tips, no tax on overtime, and no tax on Social Security benefits for our great
                seniors. (Applause.)
                (Addressing Speaker Johnson.) Good luck.
                And I also want to make interest payments on car loans tax deductible but only if the car is
                made in America. (Applause.)
                And, by the way, we’re going to have growth in the auto industry like nobody has ever seen.
                Plants are opening up all over the place. Deals are being made. Never seen. That’s a
                combination of the election win and tariffs.
                It’s a beautiful word, isn’t it?
                That, along with our other policies, will allow our auto industry to absolutely boom. It’s going
                to boom. Spoke to the majors today — all three — the top people, and they’re so excited. In

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                fact, already, numerous car companies have announced that they will be building massive
                automobile plants in America, with Honda just announcing a new plant in Indiana, one of the
                largest anywhere in the world. (Applause.)
                And this has taken place since our great victory on November 5th, a date which will hopefully
                go down as one of the most important in the history of our country. (Applause.)
                In addition, as part of our tax cuts, we want to cut taxes on domestic production and all
                manufacturing. And just as we did before, we will provide 100 percent expensing. It will be
                retroactive to January 20th, 2025, and it was one of the main reasons why our tax cuts were
                so successful in our first term, giving us the most successful economy in the history of our
                country. First term — we had a great first term. (Applause.)
                If you don’t make your product in America, however, under the Trump administration, you will
                pay a tariff and, in some cases, a rather large one. Other countries have used tariffs against
                us for decades, and now it’s our turn to start using them against those other countries.
                On average, the European Union, China, Brazil, India, Mexico, and Canada — have you heard of
                them? — and countless other nations charge us tremendously higher tariffs than we charge
                them. It’s very unfair. India charges us auto tariffs higher than 100 percent. China’s average
                tariff on our products is twice what we charge them. And South Korea’s average tariff is four
                times higher. Think of that: four times higher. And we give so much help militarily and in so
                many other ways to South Korea, but that’s what happens.
                This is happening by friend and foe. This system is not fair to the United States and never
                was. And so, on April 2nd — I wanted to make it April 1st, but I didn’t want to be accused of
                April Fool’s Day. (Laughter.) Just one day, which cost us a lot of money. (Laughter.) But we’re
                going to do it in April. I’m a very superstitious person. April 2nd, reciprocal tariffs kick in. And
                whatever they tariff us — other countries — we will tariff them. That’s reciprocal, back and
                forth. (Applause.) Whatever they tax us, we will tax them.
                If they do non-monetary tariffs to keep us out of their market, then we will do non-monetary
                barriers to keep them out of our market. There’s a lot of that too. They don’t even allow us in
                their market.
                We will take in trillions and trillions of dollars and create jobs like we have never seen before. I
                did it with China, and I did it with others. And the Biden administration couldn’t do anything
                about it because it was so much money. They couldn’t do anything about it.
                We have been ripped off for decades by nearly every country on Earth, and we will not let that
                happen any longer. (Applause.)
                Much has been said over the last three months about Mexico and Canada, but we have very
                large deficits with both of them. But even more importantly, they have allowed fentanyl to
                come into our country at levels never seen before, killing hundreds of thousands of our
                citizens and many very young, beautiful people — destroying families. Nobody has ever seen
                anything like it.
                They are, in effect, receiving subsidies of hundreds of billions of dollars. We pay subsidies to
                Canada and to Mexico of hundreds of billions of dollars. And the United States will not be
                doing that any longer. We’re not going to do it any longer. (Applause.)
                Thanks to our America First policies we’re putting into place, we have had $1.7 trillion of new
                investment in America in just the past few weeks. (Applause.) The combination of the
                election and our economic policies — the people of SoftBank, one of the most brilliant
                anywhere in the world, announced a $200 billion investment. OpenAI and Oracle — Larry

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                Ellison — announced $500 billion investment, which they wouldn’t have done if Kamala had
                won. (Applause.)
                Apple announced $500 billion investment. Tim Cook called me. He said, “I cannot spend it
                fast enough.” It’s going to be much higher than that, I believe. They’ll be building their plants
                here, instead of in China.
                And just yesterday, Taiwan Semiconductor — the biggest in the world, most powerful in the
                world, has a tremendous amount — 97 percent of the market, announced a $165 billion
                investment to build the most powerful chips on Earth right here in the USA. (Applause.)
                And we’re not giving them any money. Your CHIPS Act is a horrible, horrible thing. We give
                hundreds of billions of dollars, and it doesn’t mean a thing. They take our money, and they
                don’t spend it. All that meant to them — we’re giving them no money. All that was important
                to them was they didn’t want to pay the tariffs, so they came and they’re building. And many
                other companies are coming.
                We don’t have to give them money. We just want to protect our businesses and our people.
                And they will come because they won’t have to pay tariffs if they build in America. And so, it’s
                very amazing.
                You should get rid of the CHIP Act. And whatever is left over, Mr. Speaker, you should use it to
                reduce debt or any other reason you want to. (Applause.)
                Our new trade policy will also be great for the American farmer — I love the farmer —
                (applause) — who will now be selling into our home market, the USA, because nobody is
                going to be able to compete with you. Because those goods that come in from other
                countries and companies, they’re really, really in a bad position in so many different ways.
                They’re uninspected. They may be very dirty and disgusting, and they come in and they pour
                in, and they hurt our American farmers.
                The tariffs will go on agricultural product coming into America. And our farmers, starting on
                April 2nd — it may be a little bit of an adjustment period. We had that before, when I made
                the deal with China. Fifty billion dollars of purchases, and I said, “Just bear with me,” and they
                did. They did. Probably have to bear with me again, and this will be even better.
                That was great. The problem with it was that Biden didn’t enforce it. He didn’t enforce it.
                Fifty billion dollars of purchases, and we were doing great, but Biden did not enforce it. And it
                hurt our farmers, but our farmers are going to have a field day right now.
                So, to our farmers, have a lot of fun. I love you too. I love you too. (Applause.) It’s all going
                to happen.
                And I have also imposed a 25 percent tariff on foreign aluminum, copper, lumber, and steel,
                because if we don’t have, as an example, steel and lots of other things, we don’t have a military
                and, frankly, we just won’t have a country very long.
                Here today is a proud American steelworker, fantastic person from Decatur, Alabama. Jeff
                Denard has been working at the same steel plant for 27 years in a job that has allowed him to
                serve as the captain of his local volunteer fire department; raise seven children with his
                beautiful wife, Nicole; and over the years, provide a loving home for more than 40 foster
                children. So great, Jeff. (Applause.)
                Thank you, Jeff. Thank you, Jeff. (Applause.)
                Stories like Jeff’s remind us that tariffs are not just about protecting American jobs. They’re
                about protecting the soul of our country. Tariffs are about making America rich again and
                making America great again. And it’s happening, and it will happen rather quickly.

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                There will be a little disturbance, but we’re okay with that. It won’t be much.
                AUDIENCE MEMBER: No, we’re not!
                THE PRESIDENT: No, you’re not. Oh. (Laughter.)
                And look — and look where Biden took us. Very low. The lowest we’ve ever been.
                Jeff, I want to thank you very much.
                And I also want to recognize another person who has devoted herself to foster care
                community. She worked so hard on it. A very loving person. Our magnificent first lady of the
                United States. (Applause.)
                Melania’s work has yielded incredible results, helping prepare our nation’s future leaders as
                they enter the workforce.
                Our first lady is joined by two impressive young women — very impressive: Haley Ferguson,
                who benefited from the first lady’s Fostering the Future initiative and is poised to complete
                her education and become a teacher, and Elliston Berry, who became a victim of an illicit
                deepfake image produced by a peer. With Elliston’s help, the Senate just passed the Take It
                Down Act —
                This is so important. Thank you very much, John. John Thune, thank you. (Applause.) Stand
                up, John. Thank you, John. (Applause.) Thank you all very much. Thank you.
                And thank you to John Thune and the Senate. A great job.
                — to criminalize the publication of such images online. This terrible, terrible thing. And once
                it passes the House, I look forward to signing that bill into law. Thank you.
                And I’m going to use that bill for myself too, if you don’t mind — (laughter) — because nobody
                gets treated worse than I do online. Nobody. (Laughter.)
                That’s great. Thank you very much to the Senate. Thank you.
                But if we truly care about protecting America’s children, no step is more crucial than securing
                America’s borders. Over the past four years, 21 million people poured into the United States.
                Many of them were murderers, human traffickers, gang members, and other criminals from
                the streets of dangerous cities all throughout the world. Because of Joe Biden’s insane and
                very dangerous open border policies, they are now strongly embedded in our country, but we
                are getting them out and getting them out fast. (Applause.)
                And I want to thank Tom Homan. And, Kristi, I want to thank you. And Paul of Border Patrol, I
                want to thank you. What a job they’ve all done. Everybody. Border Patrol, ICE. Law
                enforcement, in general, is incredible. We have to take care of our law enforcement.
                (Applause.) We have to.
                Last year, a brilliant 22-year-old nursing student named Laken Riley — the best in her class,
                admired by everybody — went out for a jog on the campus of the University of Georgia. That
                morning, Laken was viciously attacked, assaulted, beaten, brutalized, and horrifically
                murdered. Laken was stolen from us by a savage illegal alien gang member who was
                arrested while trespassing across Biden’s open southern border and then set loose into
                the United States under the heartless policies of that failed administration. It was indeed a
                failed administration.
                He had then been arrested and released in a Democrat-run sanctuary city — a disaster —
                before ending the life of this beautiful young angel.
                With us this evening are Laken’s beloved mother, Allyson, and her sister, Lauren. (Applause.)
                Last year, I told Laken’s grieving parents that we would ensure their daughter would not have
                died in vain. That’s why the very first bill I signed into law as your 47th president mandates the

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                detention of all dangerous criminal aliens who threaten public safety. It’s a very strong,
                powerful act. (Applause.) It’s called the Laken Riley Act. (Applause.)
                So, Allyson and Lauren, America will never, ever forget our beautiful Laken Hope
                Riley. (Applause.)
                Thank you very much.
                Since taking office, my administration has launched the most sweeping border and
                immigration crackdown in American history, and we quickly achieved the lowest numbers of
                illegal border crossers ever recorded. Thank you. (Applause.)
                The media and our friends in the Democrat Party kept saying we needed new legislation.
                “We must have legislation to secure the border.” But it turned out that all we really needed
                was a new president. (Applause.)
                AUDIENCE: Trump! Trump! Trump!
                THE PRESIDENT: Thank you.
                Joe Biden didn’t just open our borders. He flew illegal aliens over them to overwhelm our
                schools, hospitals, and communities throughout the country. Entire towns, like Aurora,
                Colorado, and Springfield, Ohio, buckled under the weight of the migrant occupation and
                corruption like nobody has ever seen before. Beautiful towns destroyed.
                Now, just as I promised in my Inaugural Address, we are achieving the great liberation of
                America. (Applause.)
                But there still is much work to be done.
                Here tonight is a woman I have gotten to know: Alexis Nungaray from Houston. Wonderful
                woman. Last June, Alexis’s 12-year-old daughter, her precious Jocelyn, walked to a nearby
                convenience store. She was kidnapped, tied up, assaulted for two hours under a bridge, and
                horrifically murdered. Arrested and charged with this heinous crime are two illegal alien
                monsters from Venezuela, released into America by the last administration through their
                ridiculous open border.
                The death of this beautiful 12-year-old girl and the agony of her mother and family touched
                our entire nation greatly.
                Alexis, I promised that we would always remember your daughter — your magnificent
                daughter. And earlier tonight, I signed an order keeping my word to you.
                One thing I have learned about Jocelyn is that she loved animals so much. She loved nature.
                Across Galveston Bay from where Jocelyn lived in Houston, you will find a magnificent
                national wildlife refuge. A pristine, peaceful, 34,000-acre sanctuary for all of God’s creatures
                on the edge of the Gulf of America.
                Alexis, moments ago, I formally renamed that refuge in loving memory of your beautiful
                daughter, Jocelyn.
                So, Mr. Vice President, if you would, may I have the order? (Applause.)
                (The president holds up the executive order.)
                Thank you very much.
                All three savages charged with Jocelyn and Laken’s murders were members of the
                Venezuelan prison gang — the toughest gang, they say, in the world — known as Tren de
                Aragua. Two weeks ago, I officially designated this gang, along with MS-13 and the
                bloodthirsty Mexican drug cartels, as foreign terrorist organizations. (Applause.) They are
                now officially in the same category as ISIS, and that’s not good for them.


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                Countless thousands of these terrorists were welcomed into the U.S. by the Biden
                administration, but now every last one will be rounded up and forcibly removed from our
                country, or, if they’re too dangerous, put in jails, standing trial in this country, because we
                don’t want them to come back ever.
                With us this evening is a warrior on the front lines of that battle, Border Patrol agent Roberto
                Ortiz. Great guy. (Applause.)
                In January, Roberto and another agent were patrolling by the Rio Grande, near an area known
                as Cartel Island — doesn’t sound too nice to me — when heavily armed gunmen started
                shooting at them. Roberto saw that his partner was totally exposed, in great danger, and he
                leapt into action, returning fire and providing crucial seconds for his fellow agent to seek
                safety, and just barely. I have some of the prints of that event, and it was not good.
                Agent Ortiz, we salute you for your great courage and for your line of fire that you took and for
                the bravery that you showed. We honor you, and we will always honor you. Thank you,
                Roberto, very much. (Applause.) Thank you, Roberto.
                And I actually got to know him on my many calls to the border. He’s a great, great gentleman.
                The territory to the immediate south of our border is now dominated entirely by criminal
                cartels that murder, rape, torture, and exercise total control — they have total control
                over a whole nation — posing a grave threat to our national security. The cartels are
                waging war in America, and it’s time for America to wage war on the cartels, which we are
                doing. (Applause.)
                Five nights ago, Mexican authorities, because of our tariff policies being imposed on them —
                think of this — handed over to us 29 of the biggest cartel leaders in their country. That has
                never happened before. They want to make us happy. (Applause.) First time ever.
                But we need Mexico and Canada to do much more than they’ve done, and they have to stop
                the fentanyl and drugs pouring into the USA. They’re going to stop it.
                I have sent Congress a detailed funding request laying out exactly how we will eliminate these
                threats to protect our homeland and complete the largest deportation operation in American
                history, larger even than current record holder, President Dwight D. Eisenhower, a moderate
                man but someone who believed very strongly in borders. Americans expect Congress to
                send me this funding without delay so I can sign it into law.
                So, Mr. Speaker, John Thune, both of you, I hope you’re going to be able to do that. Mr.
                Speaker, thank you. Mr. Leader, thank you. Thank you very much. And let’s get it to me. I’ll
                sign it so fast, you won’t even believe it. (Applause.)
                And as we reclaim our sovereignty, we must also bring back law and order to our cities and
                towns. (Applause.) In recent years, our justice system has been turned upside down by
                radical-left lunatics. Many jurisdictions virtually ceased enforcing the law against dangerous
                repeat offenders while weaponizing law enforcement against political opponents like me.
                My administration has acted swiftly and decisively to restore fair, equal, and impartial justice
                under the constitutional rule of law, starting at the FBI and the DOJ.
                Pam, good luck. Kash, wherever you may be, good luck. (Applause.) Good luck. Pam Bondi,
                good luck. So important. Going to do a great job. (Applause.)
                Kash, thank you. Thank you, Kash. (Applause.)
                They have already started very strong. They’re going to do a fantastic job. You’re going to be
                very proud of them.


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                We’re also, once again, giving our police officers the support, protection, and respect they so
                dearly deserve. They have to get it. They have such a hard, dangerous job, but we’re going to
                make it less dangerous. The problem is the bad guys don’t respect the law, but they’re
                starting to respect it, and they soon will respect it.
                (Cross-talk.)
                This also includes our great fire departments throughout the country. Our firemen and
                women are unbelievable people, and I will never forget them. And besides that, they voted
                for me in record numbers, so I have no choice. (Applause.)
                One year ago this month, 31-year-old New York police officer Jonathan Diller — unbelievably
                wonderful person and a great officer — was gunned down at a traffic stop on Long Island. I
                went to his funeral. The vicious criminal charged with his murder had 21 prior arrests, and
                they were rough arrests too. He was a real bad one.
                The thug in the seat next to him had 14 prior arrests and went by the name of “Killer.” He was
                Killer. He killed other people. They say a lot of them.
                I attended Officer Diller’s service, and when I met his wife and one-year-old son, Ryan, it was
                very inspirational, actually. His widow’s name is Stephanie, and she is here tonight.
                Stephanie, thank you very much, Stephanie. Thank you very much. (Applause.)
                Stephanie, we’re going to make sure that Ryan knows his dad was a true hero — New York’s
                Finest. And we’re going to get these cold-blooded killers and repeat offenders off our
                streets, and we’re going to do it fast. Got to stop it.
                They get out with 28 arrests. They push people into subway trains. They hit people over the
                back of the head with baseball bats. We got to get them out of here.
                I’ve already signed an executive order requiring a mandatory death penalty for anyone who
                murders a police officer. And, tonight, I’m asking Congress to pass that policy into
                permanent law. (Applause.)
                I’m also asking for a new crime bill, getting tough on repeat offenders while enhancing
                protections for America’s police officers so they can do their jobs without fear of their lives
                being totally destroyed. They don’t want to be killed. We’re not going to let them be killed.
                Joining us in the gallery tonight is a young man who truly loves our police. His name
                is D.J. Daniel. He is 13 years old, and he has always dreamed of becoming a police
                officer. (Applause.)
                But in 2018, D.J. was diagnosed with brain cancer. The doctors gave him five months at most
                to live. That was more than six years ago. (Applause.)
                Since that time, D.J. and his dad have been on a quest to make his dream come true, and D.J.
                has been sworn in as an honorary law enforcement officer, actually, a number of times. Pec-
                — the police love him. The police departments love him.
                And tonight, D.J., we’re going to do you the biggest honor of them all. I am asking our new
                Secret Service director, Sean Curran, to officially make you an agent of the United States
                Secret Service. (Applause.)
                (Director Curran presents Mr. Daniel with a Secret Service Agent credential.)
                AUDIENCE: D.J.! D.J.! D.J.!
                THE PRESIDENT: Thank you, D.J.
                D.J.’s doctors believe his cancer likely came from a chemical he was exposed to when he was
                younger. Since 1975, rates of child cancer have increased by more than 40 percent.
                Reversing this trend is one of the top priorities for our new presidential commission to make

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                America healthy again, chaired by our new secretary of Health and Human Services, Robert F.
                Kennedy, Jr. (Applause.)
                AUDIENCE MEMBER: MAHA, baby!
                THE PRESIDENT: With the name “Kennedy,” you would have thought everybody over here
                would have been cheering. (Laughter.) How quickly they forget.
                Our goal is to get toxins out of our environment, poisons out of our food supply, and keep our
                children healthy and strong.
                As an example, not long ago — you can’t even believe these numbers — 1 in 10,000 children
                had autism. 1 in 10,000. And now it’s 1 in 36. There’s something wrong. One in 36. Think
                of that.
                So, we’re going to find out what it is, and there’s nobody better than Bobby and all of the
                people that are working with you — you have the best — to figure out what is going on.
                Okay, Bobby? Good luck. It’s a very important job. Thank you. (Applause.) Thank you.
                Thank you.
                My administration is also working to protect our children from toxic ideologies in our schools.


                   A few years ago, January Littlejohn and her husband discovered that their daughter’s
                school had secretly socially transitioned their 13-year-old little girl. Teachers and
                administrators conspired to deceive January and her husband, while encouraging her
                daughter to use a new name and pronouns — “they/them” pronouns, actually — all without
                telling January, who is here tonight and is now a courageous advocate against this form of
                child abuse. January, thank you. Thank you. Thank you very much. (Applause.) Thank you.
                Thank you.
                Stories like this are why, shortly after taking office, I signed an executive order banning public
                schools from indoctrinating our children with transgender ideology. (Applause.)
                I also signed an order to cut off all taxpayer funding to any institution that engages in the
                sexual mutilation of our youth. (Applause.) And now I want Congress to pass a bill
                permanently banning and criminalizing sex changes on children and forever ending the lie
                that any child is trapped in the wrong body. This is a big lie. (Applause.)
                And our message to every child in America is that you are perfect exactly the way God made
                you. (Applause.)


                   Because we’re getting wokeness out of our schools and out of our military, and it’s
                already out, and it’s out of our society. We don’t want it. Wokeness is trouble. Wokeness
                is bad. It’s gone. It’s gone. And we feel so much better for it, don’t we? Don’t we feel
                better? (Applause.)


                   Our service members won’t be activists and ideologues. They will be fighters and warriors.
                They will fight for our country.


                   And, Pete, congratulations. Secretary of Defense, congratulations. (Applause.)


                   And he’s not big into the woke movement, I can tell you. (Laughter.) I know him well.


                   I am pleased to report that, in January, the U.S. Army had its single best recruiting month in

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                15 years and that all armed services are having among the best recruiting results ever in the
                history of our services. (Applause.) What a difference.


                   And you know it was just a few months ago where the results were exactly the opposite.
                We couldn’t recruit anywhere. We couldn’t recruit. Now we’re having the best results, just
                about, that we’ve ever had. What a tremendous turnaround. It’s really a beautiful thing to
                see. People love our country again. It’s very simple. They love our country, and they love
                being in our military again. So, it’s a great thing. And thank you very much. Great job. Thank
                you. (Applause.)


                   We’re joined tonight by a young man, Jason Hartley, who knows the weight of that call of
                duty. Jason’s father, grandfather, and great-grandfather all wore the uniform.


                   Jason tragically lost his dad, who was also a Los Angeles County sheriff’s deputy, when he
                was just a boy, and now he wants to carry on the family legacy of service. Jason is a senior in
                high school, a six-letter varsity athlete — a really good athlete, they say — a brilliant student,
                with a 4.46 — that’s good — GPA. (Laughter.) And his greatest dream is to attend the U.S.
                Military Academy at West Point. (Applause.)


                   And, Jason, that’s a very big deal getting in. That’s a hard one to get into. But I’m pleased to
                inform you that your application has been accepted. You will soon be joining the Corps of
                Cadets. (Applause.)


                   Thank you. Jason, you’re going to be on the Long Gray Line, Jason.


                   As commander in chief, my focus is on building the most powerful military of the future. As
                a first step, I’m asking Congress to fund a state-of-the-art Golden Dome missile defense
                shield to protect our homeland, all made in the USA. (Applause.)


                   And Ronald Reagan wanted to do it long ago, but the technology just wasn’t there, not even
                close. But now we have the technology. It’s incredible, actually. And other places, they have
                it: Israel has it. Other places have it. And the United States should have it too. Right, Tim?
                Right? (Applause.) They should have it too. So, I want to thank you.


                   But it’s a very important. This is a very dangerous world. We should have it. We want to be
                protected. And we’re going to protect our citizens like never before.


                   To boost our defense industrial base, we are also going to resurrect the
                American shipbuilding industry, including commercial shipbuilding and military
                shipbuilding. (Applause.)


                   And for that purpose, I am announcing tonight that we will create a new Office of
                Shipbuilding in the White House and offer special tax incentives to bring this industry home
                to America, where it belongs.


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                   We used to make so many ships. We don’t make them anymore very much, but we’re going
                to make them very fast, very soon. It will have a huge impact.


                   To further enhance our national security, my administration will be reclaiming the Panama
                Canal, and we’ve already started doing it. (Applause.)


                   Just today, a large American company announced they are buying both ports around the
                Panama Canal and lots of other things having to do with the Panama Canal and a couple of
                other canals.


                   The Panama Canal was built by Americans for Americans, not for others, but others could
                use it. But it was built at tremendous cost of American blood and treasure. Thirty-eight
                thousand workers died building the Panama Canal. They died of malaria. They died of snake
                bites and mosquitoes. Not a nice place to work. They paid them very highly to go there,
                knowing there was a 25 percent chance that they would die. The most expensive project,
                also, that was ever built in our country’s history, if you bring it up to modern-day costs.


                   It was given away by the Carter administration for $1, but that agreement has been
                violated very severely. We didn’t give it to China. We gave it to Panama, and we’re taking it
                back. (Applause.)


                   And we have Marco Rubio in charge. Good luck, Marco. (Laughter and applause.) Now we
                know who to blame if anything goes wrong. (Laughter.)
                No, Marco has been amazing, and he’s going to do a great job. Think of it. He got a hundred
                votes. (Applause.) You know, he was approved with, actually, 99, but the 100th was this
                gentleman, and I feel very certain — so, let’s assume he got 100 votes. And I’m either very,
                very happy about that or I’m very concerned about it. (Laughter.)


                   But he’s already proven — I mean, he’s a great gentleman. He’s respected by everybody.
                And we appreciate you voting for Marco. He’s going to do a fantastic job. Thank you.
                (Applause.) Thank you. He’s doing a great job. Great job.


                   And I also have a message tonight for the incredible people of Greenland. (Laughter.) We
                strongly support your right to determine your own future, and, if you choose, we welcome you
                into the United States of America.


                   We need Greenland for national security and even international security, and we’re working
                with everybody involved to try and get it. But we need it, really, for international world
                security. And I think we’re going to get it. One way or the other, we’re going to get it.
                We will keep you safe. We will make you rich. And together, we will take Greenland to heights
                like you have never thought possible before.


                   It’s a very small population but very, very large piece of land and very, very important for
                military security.


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                   America is once again standing strong against the forces of radical Islamic terrorism.


                   Three and a half years ago, ISIS terrorists killed 13 American service members and
                countless others in the Abbey Gate bombing during the disastrous and incompetent
                withdrawal from Afghanistan — not that they were withdrawing; it was the way they
                withdrew. Perhaps the most embarrassing moment in the history of our country.


                   Tonight, I am pleased to announce that we have just apprehended the top terrorist
                responsible for that atrocity, and he is right now on his way here to face the swift sword of
                American justice. (Applause.)


                   And I want to thank, especially, the government of Pakistan for helping arrest this monster.


                   This was a very momentous day for those 13 families, who I actually got to know very well,
                most of them, whose children were murdered, and the many people that were so badly —
                over 42 people — so badly injured on that fateful day in Afghanistan. What a horrible day.
                Such incompetence was shown that when Putin saw what happened, I guess he said, “Wow,
                maybe this is my chance.” That’s how bad it was. Should have never happened. Grossly
                incompetent people.


                   I spoke to many of the parents and loved ones, and they’re all in our hearts tonight. Just
                spoke to them on the phone. We had a big call. Every one of them called, and everybody was
                on the line, and they did nothing but cry with happiness. They were very happy — as happy as
                you can be under those circumstances. Their child, brother, sister, son, daughter was killed
                for no reason whatsoever.


                   In the Middle East, we’re bringing back our hostages from Gaza. In my first term, we
                achieved one of the most groundbreaking peace agreements in generations: the Abraham
                Accords. (Applause.)
                And now we’re going to build on that foundation to create a more peaceful and prosperous
                future for the entire region. A lot of things are happening in the Middle East. People haven’t
                been talking about that so much lately with everything going on with Ukraine and Russia, but
                a lot of things are happening in the Middle East. It’s a rough neighborhood, actually.


                   I’m also working tirelessly to end the savage conflict in Ukraine. Millions of Ukrainians and
                Russians have been needlessly killed or wounded in this horrific and brutal conflict with no
                end in sight.


                   The United States has sent hundreds of billions of dollars to support Ukraine’s defense with
                no security, with no anything. (Applause.)


                   Do you want to keep it going for another five years?


                   SENATOR WARREN: Yes!


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                   THE PRESIDENT: Yeah. Yeah, you would say — Pocahontas says, “Yes.” (Laughter.)


                   AUDIENCE MEMBERS: Booo —


                   THE PRESIDENT: Two thousand people are being killed every single week — more than
                that. They’re Russian young people. They’re Ukrainian young people. They’re not
                Americans. But I want it to stop.


                   Meanwhile, Europe has sadly spent more money buying Russian oil and gas than they have
                spent on defending Ukraine, by far. Think of that. They’ve spent more buying Russian oil and
                gas than they have defending. And we’ve spent, perhaps, $350 billion. Like taking candy
                from a baby, that’s what happened. And they’ve spent $100 billion. What a difference that is.
                And we have an ocean separating us, and they don’t.


                   But we’re getting along very well with them, and lots of good things are happening.


                   Biden has authorized more money in this fight than Europe has spent by billions and billions
                of dollars. It’s hard to believe that they wouldn’t have stopped it and said, at some point,
                “Come on. Let’s equalize. You got to be equal to us.” But that didn’t happen.


                   Earlier today, I received an important letter from President Zelenskyy of Ukraine. The letter
                reads, “Ukraine is ready to come to the negotiating table as soon as possible to bring lasting
                peace closer.” “Nobody wants peace more than the Ukrainians,” he said. (Applause.) “My
                team and I stand ready to work under President Trump’s strong leadership to get a peace that
                lasts. We do really value how much America has done to help Ukraine maintain its
                sovereignty and independence. Regarding the agreement on minerals and security, Ukraine
                is ready to sign it at any time that is convenient for you.”


                   I appreciate that he sent this letter. Just got it a little while ago.


                   Simultaneously, we’ve had serious discussions with Russia and have received strong signals
                that they are ready for peace. Wouldn’t that be beautiful? Wouldn’t that be beautiful?
                (Applause.) Wouldn’t that be beautiful?


                   It’s time to stop this madness. It’s time to halt the killing. It’s time to end this senseless war.
                If you want to end wars, you have to talk to both sides.


                   Nearly four years ago, amid rising tensions, a history teacher named Marc Fogel was
                detained in Russia and sentenced to 14 years in a penal colony. Rough stuff.


                   The previous administration barely lifted a finger to help him. They knew he was innocent,
                but they had no idea where to begin. But last summer, I promised his 95-year-old mother,
                Malphine, that we would bring her boy safely back home.


                   After 22 days in office, I did just that, and they are here tonight. (Applause.)

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                   To Marc and his great mom, we are delighted to have you safe and sound and with us.


                   As fate would have it, Marc Fogel was born in a small, rural town — in Butler, Pennsylvania —
                have you heard of it? — where his mother has lived for the past 78 years.


                   I just happened to go there last July 13th for a rally. That was not pleasant. (Laughter.) And
                that is where I met his beautiful mom, right before I walked onto that stage. And I told her I
                would not forget what she said about her son. And I never did, did I? Never forgot.


                   Less than 10 minutes later, at that same rally, gunfire rang out, and a sick and deranged
                assassin unloaded eight bullets from his sniper’s perch into a crowd of many thousands
                of people.


                   My life was saved by a fraction of an inch, but some were not so lucky. Corey Comperatore
                was a firefighter, a veteran, a Christian, a husband, a devoted father, and, above all,
                a protector.


                   When the sound of gunshots pierced the air — it was a horrible sound — Corey knew
                instantly what it was and what to do. He threw himself on top of his wife and daughters and
                shielded them from the bullets with his own body.


                   Corey was hit really hard. You know the story from there. He sacrificed his life to
                save theirs.


                   Two others — very fine people — were also seriously hit. But thankfully, with the help of two
                great country doctors, we thought they were gone, and they were saved. So, those doctors
                had great talent.


                   We’re joined by Corey’s wife, Helen, who was his high school sweetheart, and their two
                beloved daughters, Allyson and Kaylee. Thank you. (Applause.)


                   To Helen, Allyson, and Kaylee, Corey is looking down on his three beautiful ladies right now,
                and he is cheering you on. He loves you. He is cheering you on.


                   Corey was taken from us much too soon, but his destiny was to leave us all with a shining
                example of the selfless devotion of a true American patriot. It was love like Corey’s that built
                our country, and it’s love like Corey’s that is going to make our country more majestic than
                ever before.


                   I believe that my life was saved that day in Butler for a very good reason. I was saved by God
                to make America great again. I believe that. (Applause.) Thank you.


                   Thank you. Thank you very much.


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                   From the patriots of Lexington and Concord to the heroes of Gettysburg and Normandy,
                from the warriors who crossed the Delaware to the trailblazers who climbed the Rockies, and
                from the legends who soared at Kitty Hawk to the astronauts who touched the Moon,
                Americans have always been the people who defied all odds, transcended all dangers, made
                the most extraordinary sacrifices, and did whatever it took to defend our children, our
                country, and our freedom.


                   And as we have seen in this chamber tonight, that same strength, faith, love, and spirit is
                still alive and thriving in the hearts of the American people. Despite the best efforts of
                those who would try to censor us, silence us, break us, destroy us, Americans are today a
                proud, free, sovereign, and independent nation that will always be free, and we will fight for it
                till death.


                   We will never let anything happen to our beloved country, because we are a country of
                doers, dreamers, fighters, and survivors.


                   Our ancestors crossed a vast ocean, strode into the unknown wilderness, and carved their
                fortunes from the rock and soil of a perilous and very dangerous frontier. They chased our
                destiny across a boundless continent. They built the railroads, laid the highways, and graced
                the world with American marvels, like the Empire State Building, the mighty Hoover Dam, and
                the towering Golden Gate Bridge.


                   They lit the world with electricity, broke free of the force of gravity, fired up the engines of
                American industry, vanquished the communists, fascists, and Marxists all over the world, and
                gave us countless modern wonders sculpted out of iron, glass, and steel.


                   We stand on the shoulders of these pioneers who won and built the modern age, these
                workers who poured their sweat into the skylines of our cities, these warriors who shed their
                blood on fields of battle and gave everything they had for our rights and for our freedom.


                   Now it is our time to take up the righteous cause of American liberty, and it is our turn to
                take America’s destiny into our own hands and begin the most thrilling days in the history of
                our country.


                   This will be our greatest era.


                   With God’s help, over the next four years, we are going to lead this nation even higher, and
                we are going to forge the freest, most advanced, most dynamic, and most dominant
                civilization ever to exist on the face of this Earth.


                   We are going to create the highest quality of life, build the safest and wealthiest and
                healthiest and most vital communities anywhere in the world.


                   We are going to conquer the vast frontiers of science, and we are going to lead humanity
                into space and plant the American flag on the planet Mars and even far beyond. (Applause.)

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                   And, through it all, we are going to rediscover the unstoppable power of the American
                spirit, and we are going to renew unlimited promise of the American dream.


                   Every single day, we will stand up and we will fight, fight, fight for the country our citizens
                believe in and for the country our people deserve. (Applause.) Thank you. Thank you.


                   AUDIENCE MEMBERS: Fight! Fight! Fight!


                   THE PRESIDENT: My fellow Americans, get ready for an incredible future, because
                the golden age of America has only just begun. It will be like nothing that has ever been
                seen before.


                   Thank you. God bless you. And God bless America. (Applause.)


                   Thank you. Thank you, everybody. Thank you. Thank you very much. Thank you very
                much. Thank you.
                Thank you very much. Appreciate it.
                Thank you very much.


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